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 1   HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
 2   MEGAN T. HOPKINS, Bar #294141
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, CA 93721-2226
     Telephone: (559) 487-5561
 5   Fax: (559) 487-5950

 6   Attorney for Defendant
     MARTIN BAHRAMI
 7
 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10
      UNITED STATES OF AMERICA,                  )   Case No. 1:15-cr-00045-LJO-BAM-6
11                                               )
                       Plaintiff,                )   STIPULATION TO CONTINUE STATUS
12                                               )   CONFERENCE; ORDER THEREON
      vs.                                        )
13                                               )   Date: July 18, 2016
      MARTIN BAHRAMI,                            )   Time: 8:30 a.m.
14                                               )   Judge: Honorable Lawrence J. O’Neill
                      Defendant.                 )
15                                               )
                                                 )
16
17          IT IS HEREBY STIPULATED by and between the parties hereto, and through their
18   respective attorneys of record, that the status conference set for Monday, May 2, 2016 at 8:30
19   a.m. before the Honorable Lawrence J. O’Neill be continued to Monday, July 18, 2016 at 8:30
20   a.m.

21          The parties intend to trail sentencing in this matter until the case resolves as to the co-
22   defendants, who are scheduled to set trial at a separate status conference in June, 2016.
23   ///

24   ///
25   ///
26   ///
27   ///
28   ///
     Case 1:15-cr-00045-LJO-BAM Document 123 Filed 04/28/16 Page 2 of 2


 1                                              Respectfully submitted,

 2                                              HEATHER E. WILLIAMS
                                                Federal Defender
 3
 4   DATED: April 28, 2016                      /s/ Megan T. Hopkins
                                                MEGAN T. HOPKINS
 5                                              Assistant Federal Defender
                                                Attorney for Defendant
 6                                              MARTIN BAHRAMI

 7
                                                BENJAMIN B. WAGNER
 8                                              United States Attorney

 9
10   DATED: April 28, 2016                      /s/ Henry Z. Carbajal III
                                                HENRY Z. CARBAJAL
11                                              Assistant U.S. Attorney
                                                Attorney for Plaintiff
12
13                                            ORDER

14           GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that the status conference

15   set for Monday, May 2, 2016 at 8:30 a.m. before the Honorable Lawrence J. O’Neill be

16   continued to Monday, July 18, 2016 at 8:30 a.m.

17
     IT IS SO ORDERED.
18
         Dated:       April 28, 2016                      /s/ Lawrence J. O’Neill
19
                                                       UNITED STATES DISTRICT JUDGE
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      BAHRAMI / Stip to Continue S/C              -2-
